Case 6:16-cv-02197-PGB-KRS Document 122 Filed 05/03/17 Page 1 of 2 PageID 3550



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

    SYMBOLOGY INNOVATIONS, LLC                       §
                                                     §
           Plaintiff,                                §       CIVIL ACTION NO.
                                                     §     6:16-cv-02205-PGB-KRS
    v.                                               §    JURY TRIAL DEMANDED
                                                     §
    THE WALT DISNEY COMPANY                          §
    AND DISNEY ENTERPRISES, INC.                     §            LEAD CASE:
                                                     §      6:16-cv-02197-PGB-KRS
                                                     §
           Defendant.                                §

                                  MOTION FOR DISMISSAL

           Plaintiff, Symbology Innovations, LLC, under the Federal Rule of Civil Procedure

    41(a), move to dismiss all claims against The Walt Disney Company and Disney

    Enterprises, Inc. in this action without prejudice, with each party bears its own attorneys’

    fees and costs.



     Dated: May 3, 2017                          Respectfully Submitted,

                                                 By: /s/Sonia Colon
                                                 Sonia Colon
                                                 USDC No. 0050475
                                                 Ferraiuoli LLC
                                                 Bank of America Bldg.
                                                 390 N. Orange Avenue
                                                 Suite 2300
                                                 Orlando, FL 32801
                                                 Telephone: (787) 766-7000
                                                 Facsimile: (787) 766-7001
                                                 Email: scolon@ferraiuoli.com
                                                 ATTORNEYS FOR PLAINTIFF
                                                 Symbology Innovations, LLC
Case 6:16-cv-02197-PGB-KRS Document 122 Filed 05/03/17 Page 2 of 2 PageID 3551




                                 CERTIFICATE OF SERVICE

           I HEREBY CERIFY that on the 3rd day of May, 2017, I electronically filed the

    foregoing with the Clerk of the Court using the CM/ECF system, which will send a Notice

    of Electronic Filing to all counsel of record.

                                                         /s/ Sonia Colon
                                                         Sonia Colon




                                                     2
